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FILED ELECTRONICALLY

                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   LEXINGTON DIVISION

 MARTIN LUFTMAN and                                         CASE NO. 5:16-cv-00014-JMH
 VIRGINIA LUFTMAN

                 Plaintiffs                                   HON. JOSEPH M. HOOD

 v.

 LABORATORY FOR KIDNEY                                 DEFENDANT’S AND PUTATIVE
 PATHOLOGY, INC.;                                   DEFENDANT’S NOTICE OF SERVICE
                                                     OF ANSWERS AND RESPONSES TO
                 Defendant                              PLAINTIFFS’ FIRST SET OF
                                                    INTERROGATORIES AND REQUESTS
 and LILIA MAURICIO, M.D.                           FOR PRODUCTION OF DOCUMENTS

                 Putative Defendant


                                 *       *      *       *       *

       Comes the Defendant, Laboratory for Kidney Pathology, Inc., by and through counsel, and

the Putative Defendant, Lilia Mauricio, M.D., by and through counsel, without waiving her rights,

without subjecting herself to the personal jurisdiction of this Court by virtue of this appearance,

and without waiving her ability to further challenge this action under any other applicable Federal

Rules of Civil Procedure, and hereby give the Court and all Parties NOTICE that on this, the 2nd

day of March, 2017, the Defendant and the Putative Defendant served their Answers and

Responses to Plaintiffs’ First Set of Interrogatories and Requests for Production of Documents in

accordance with the Federal Rules of Civil Procedure.




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Dated: 3/2/17                                 Respectfully submitted,

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                                      By:     /s/ Chad Thompson__________________________
                                              MELANIE S. MARRS
                                              T. CHAD THOMPSON
                                              Counsel for Defendant, Laboratory for Kidney
                                              Pathology, Inc., and Putative Defendant,
                                              Lilia Mauricio, M.D.



                                CERTIFICATE OF SERVICE

       I hereby certify that, on March 2nd, 2017, I electronically filed the foregoing with the Clerk

of the United States District Court for the Eastern District of Kentucky, by using the CM/ECF

system, notice of which was sent to the following through that system, and a copy of which is

accessible to the following through that system:

Copy To:
Douglass Farnsley
J. Brittany Cross Carlson
Margaret “Peggy” Grant
Stites & Harbison, PLLC
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Counsel for Plaintiffs


/s/ Chad Thompson__________________________
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Pathology, Inc., and Putative Defendant,
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